       Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 1 of 6



Andi's journey | News | news-herald.com                                                      8/22/20, 9:28 PM

                                                   EXHIBIT 22
https://www.news-herald.com/news/andi-s-journey/article_b1afb08d-cd52-5632-8e64-0edaea0b92df.html

Andi's journey
David S. Glasier
Jan 29, 2007


On Jan. 17, in the embattled Iraqi capital of Baghdad, Andi Parhamovich died with three security guards
when their vehicle was ambushed in the Sunni neighborhood of Yarmuk.

She was 28 years old and a civilian employee of the National Democratic Institute, an organization
working with Iraqi politicians and citizens to build a functioning democracy.

"Andi knew Iraq was a dangerous place. Her eyes were wide open," Vicki Parhamovich said. "She knew
we didn't want her to go there. But we also knew that once she made up her mind, it didn't matter. She
would find a way to do it."

The room filled with laughter as Marci Parhamovich chimed in about her kid sister's stubborn streak.

"You don't say 'no' to Andi," she said, smiling.

"I think I like determined better than stubborn," said Andre Parhamovich, a football and baseball coach
at Harvey High School.

There was consensus that from an early age, Andi knew what she wanted and wasn't shy about making
her desires known.

"She was a little girl with big dreams," Marci Parhamovich said. "And she fulfilled them."

Pursuit of those dreams took Andi from Perry to Marietta, Boston, Manhattan and, finally, Baghdad.
Hastings has been assigned to Newsweek's bureau in Baghdad since June 2005.
"Anyone who's ever gone to Baghdad, anyone, tells you it's a really bad idea," he said. "But Andi wanted
to be there."
A journey begins
The Parhamoviches lived in Painesville when Andi was born June 16, 1978.

She attended State Street Elementary School and Hobart Middle School before the family moved to
Perry Township when Andi was in eighth grade.

She was diligent and intelligent.

"When she was 5, and I took her to get tested for kindergarten, they told me to wait another year," Vicki
Parhamovich said.



PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                          PLA000134
     Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 2 of 6



Andi's journey | News | news-herald.com                                                     8/22/20, 9:28 PM

"I told them, 'This child is ready for kindergarten. She's inquisitive. She has a vocabulary far beyond that
of an average 5-year-old.

"She needs to be challenged and go to kindergarten. And she did go."

In second grade, Andi misinterpreted the rules of a reading contest that promised a free, family-size
pizza from Pizza Hut to students who completed a specified number of books over the period of a few
weeks.

"Andi read something like 70 books in one weekend," Andre Parhamovich said. "She started Friday after
school and finished Sunday night. It was amazing."

Vicki and Andre Parhamovich both smiled and nodded their heads while recalling their encounter with a
teacher in Perry who was reviewing Andi's academic record before she moved on to ninth grade.

"That person told Andi she wasn't college material," Vicki Parhamovich said.

Andi spent the next four years refuting that judgment with an impressive string of A's.

"In my 27 years at Perry, Andi was one of the most outstanding students I've had," said Pat Giannell, a
history and social studies teacher.

Giannell remembered that in the fall of 1993, when Andi was in his 10th-grade history class, he had
students do an in-depth study of the Middle East.

"We took it from ancient times to the present and the first Gulf War," Giannell said. "How ironic that
Andi would ultimately go there and try to make a difference in those peoples' lives."

Andi's principal diversion from school work was her interest in sports. She played volleyball and softball
in high school.

Sharon Monas, now teaching health and physical education at Perry Elementary School, was the varsity
softball coach at the high school from 1979 to 2001. Monas remembered how much Andi improved
during the four years she was the team's center fielder and situational hitter.

"Andi was the dependable kid, the one I could give the bunt sign to and know she was going to get it
down and move up the runners," Monas said. "She was full of energy, a consummate team player."

The scrappy young woman who hustled like crazy and came home with the dirty softball uniform also
was an avid fan of the Indians, Browns and Cavaliers.

"Oh my God, she loved (former Indians' center fielder) Kenny Lofton," Monas said. "We talked about the
Indians all the time."

Andi also had a soft spot in her heart for former Browns coach Marty Schottenheimer.

"She could talk sports with any guy," Marci Zampini said.

PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                         PLA000135
     Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 3 of 6



Andi's journey | News | news-herald.com                                                   8/22/20, 9:28 PM

Andre Parhamovich was understandably proud when his daughter followed him to Marietta College.
Andre was a member of the Class of '73.

In his heart, he knew his daughter was taking the first step down a road that would carry her far from
home.

"Andi did not want to stay in Perry," he said. "She wanted to be in a place like New York City. She wanted
to make a mark in the world."
Branching out

Andi remained true to her self-assured character in college.

While pursuing a degree in advertising and public relations at Marietta, she got a job as a student
assistant to Don Schaly, the legendary baseball coach for whom her father had played.

"You have to understand, Coach Schaly was an institution down there," Andre Parhamovich said, his
eyes widening.

Schaly was accustomed to getting his way. A chain smoker, he also was used to players, assistant
coaches, students and administrators looking the other way as he puffed away in his office.

Andi hated the smoke and its stench. She also knew the law prohibited smoking indoors. When the
coach didn't voluntarily comply with her request to make the office smoke-free, Andi went to the
athletic director. From then on, Schaly did all his puffing outside.

"She was intimidated by no one," Vicki Parhamovich said.

After her junior year at Marietta, Andi and a classmate from the Pittsburgh area landed internships at
Pan Communications, a public relations company in the Boston area.

"The original plan was, we'd follow them in our car to Pittsburgh to make sure they got away in good
shape. The next thing you know, we're following them all the way to the Massachusetts state line," Vicki
Parhamovich recalled with a chuckle.

"When they got there, we waved good-bye."

Andi returned to Boston and Pan Communications after graduation. She was determined to achieve a
career in public relations or politics.

Balancing act

To hear her friends and family talk about it, Andi was driven by equal measures of idealism and
ambition.

"Ambition is what helped Andi to achieve her ideals," Hastings said. "She was the most principled person
I ever met."


PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                       PLA000136
     Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 4 of 6




Andi's journey | News | news-herald.com                                                     8/22/20, 9:28 PM

By the time she got out of college, Andi aspired to a career in politics. She was a big fan of "The West
Wing," and identified with the character of C.J. Cregg, the White House press secretary played by Allison
Janney.

Although she was a liberal Democrat, in 2002 Andi left the public relations firm in Boston to work for
Massachusetts Gov. Jane Swift, a moderate Republican, in the state's Department of Economic
Development.

Swift failed to receive her party's nomination one year later.

That left Andi with the choice of staying in Boston or acting on her long-held desire to move to New York
City.

Vicki Parhamovich wasn't completely sold on her daughter moving to New York without a job or a place
to live. Andi had no such qualm.

"When I talked to Andi about that, she told me, 'You don't understand, Mom, I have to do this. I have to
be there or I can't get where I need to be,' " Vicki Parhamovich said.

In reasonably short order, Andi landed a public relations job at Miramax Pictures. Horn, from Texas,
also was a relative newcomer to Miramax. The two became fast friends. Horn joined Air America in 2005
as vice president of communications. Andi started the same day as a corporate publicist.

Al Franken, the writer-actor best known for his work on "Saturday Night Live," hosted a daily talk show
on Air America.

"My first interaction with Al was awful, awkward. I did not charm him at all," Horn said.

Franken met his match in the young woman from Perry who placed zero stock in anyone's celebrity
status.

"It was different with Andi and Al. It was like that," Horn said, snapping her fingers. "She had him
around her little finger. Andi was firm. She looked him directly in the eye and talked to him."

Andi's stock rose quickly at Air America, earning her a promotion to director of program outreach. That
put her on a collision course with an up-and-coming Newsweek reporter who'd received permission
from his bosses to interview another Air America host, Jerry Springer. The piece would run on
gawker.com, an often irreverent Web site geared to events and celebrities in Manhattan.

Michael Hastings was so charmed by Andi that he went easy on Springer.

"In retrospect, my journalistic integrity might have been compromised on that one," Hastings said with a
laugh.

Horn was shocked by the positive tone of the story.

PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                         PLA000137
     Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 5 of 6



Andi's journey | News | news-herald.com                                                    8/22/20, 9:28 PM

"I told Andi, 'This is a Valentine to you. The boy is smitten,' " Horn said.

Indeed, he was.

"We always argued the date of when we fell in love, but basically, when I saw her, I knew," Hastings said.

A couple of months after that fateful first meeting, Hastings was told his next assignment would be in
Baghdad. Andi wasn't thinking about Iraq then, but that changed as she closely followed the troubled
course of the war and began to explore the possibility of getting on to the campaign staff of a
Democratic candidate for president or the U.S. Senate.

"Andi wanted a big job in politics. She had big shoulders and knew she could handle it," Vicki
Parhamovich said. "But when she was told she couldn't get that kind of job because she lacked foreign
policy experience, her attitude was, 'Fine, I'll go get it.' "

That led Andi to Washington and the headquarters of International Republican Institute.

Calm in the storm

Andi was a Democrat, but she also was a pragmatist. She didn't agree with some of the policy tenets
held by the people who ran the International Republican Institute, but the organization was doing
outreach work in Iraq. She wanted to be among the civilians working on the ground in Iraq to promote
democracy.

In September 2006, Andi learned she'd been hired by IRI and soon would be off to Iraq. "Her eyes lit up
when she told me she was going to Baghdad," Horn said.

During her first three months in Baghdad, Andi focused on setting up a media and press center for the
Iraqi Parliament. She left IRI at the end of November to join the National Democratic Institute. After a
brief respite for NDI training in Washington, Andi returned to Baghdad on Christmas Eve.

Andi was in her element at the NDI's outpost in Baghdad. She was training Iraqi government officials on
the intricacies of party politics, the principles of press freedom and how best to deal with the media.

"One of the things she was doing was trying to get the Iraqi Communist Party to change its name to
Iraqi Progressive Party, because she didn't think communism would sell as well," Hastings said.

"Crisis management was her thing."

Back in Perry, Andi's parents and family started every day knowing Andi was in harm's way in Baghdad,
even when she was in the Green Zone, a supposedly secured area.

"We watched every newscast," Andre Parhamovich said.

"We'd listen for key words like Green Zone, then I'd have to get on the computer and send an e-mail to
Andi asking if she was OK," Vicki Parhamovich added.

PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                       PLA000138
     Case 1:17-cv-00061-FYP-GMH Document 37-22 Filed 03/03/21 Page 6 of 6



Andi's journey | News | news-herald.com                                                       8/22/20, 9:28 PM

The e-mail replies Andi sent home and to her many friends tended to downplay the danger.

"They were always the same," Cory Parhamovich said. "She made it sound like she was happy. She
didn't want to worry us."

Hastings, on the ground in Baghdad, knew the truth Andi didn't fully share in those e-mails.

"In conflict zones, there are always people who are grateful you are trying to help them," Hastings said.
"And there are people killing aid workers and trying to get as much as they can."

As December turned to January, Hastings said Andi began talking about spending another three to six
months in Iraq and then coming home to make good on her plan to enter politics.

The terrorists who savagely attacked the vehicle carrying Andi and the three security guards turned that
dream into a nightmare.

Sorting it out

To a person, no one in the room felt Andi was following her boyfriend to Iraq. The two were planning to
formalize their engagement in February or March.

Rather, they believe Andi was in Iraq because she wanted to make a difference in the war-torn country
and because her stint there would improve her chances of having a career in national politics.

"She would have found her way there, anyway," Horn said. "She was a revolutionary. She wanted to go
out and be part of the battle."

In the days since they learned of her death, family and friends have talked about their favorite
memories of Andi. They don't want people to think of her as a saint.

Joe Zampini got a round of laughs when he recalled one of Andi's good-natured weaknesses.
"She could certainly dish it out, but she could not take it," he said.

The twins remembered Cory's attempts to teach her how to drive vehicles with standard transmission.

"All the kind words from all these amazing people are probably the only reason I'm getting through
this," Vicki Parhamovich said as her husband nodded in agreement.

"Her face was the best face America could have sent over there," Marci Zampini said.

Hastings struggles every day to suppress his anger at Andi's death and the circumstances surrounding it.
"There are a thousand tragedies every day in Iraq, but to my mind, this is the worst," he said.

In the face of grief and anger, Andi's parents look back with pride on the life of their idealistic,
ambitious, precocious and, yes, stubborn daughter.

"Andi would be very upset," Vicki Parhamovich said, "if this tragedy stopped the work she was doing in
Iraq."
PARHAMOVICH V. IRAN
1:17-CV-00061 (KBJ)                                                                           PLA000139
